USCA Case #23-1179     Document #2030314     Filed: 12/06/2023   Page 1 of 44
             [ORAL ARGUMENT NOT YET SCHEDULED]
                               No. 23-1179


            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                   _________________________________

                             ALON FARHY,
                                             Petitioner-Appellee

                                    v.

             COMMISSIONER OF INTERNAL REVENUE,
                                            Respondent-Appellant
                     _________________________________

 ON APPEAL FROM THE DECISION OF THE UNITED STATES
            TAX COURT, CASE NO. 10647-21L
                     _________________________________

                      BRIEF FOR THE APPELLEE
                     _________________________________


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7608340_9
USCA Case #23-1179    Document #2030314      Filed: 12/06/2023     Page 2 of 44

            CERTIFICATE AS TO PARTIES, RULINGS,

                        AND RELATED CASES

            A.   Parties, Intervenors, and Amici.                The parties,

intervenors, and amici appearing in the Tax Court and in this Court are

Alon Farhy, the Petitioner, and the Commissioner of Internal Revenue,

the Respondent. There were no amici or intervenors appearing before

the Tax Court, and there are no amici or intervenors who have appeared

in this Court.


            B.   Rulings Under Review. The rulings under review are

the Tax Court’s decision by Judge L. Paige Marvel, entered on April 18,

2023, and the associated opinion, entered on April 3, 2023, and published

at 160 T.C. No. 6. (See JA240–54.)


            C.   Related Cases. This case was not previously before

this Court or any other appellate court. The Petitioner’s Counsel is not

aware of any related cases currently pending in this Court or in any other

court, as provided in Cir. R. 28(a)(1)(C).




                                      i

7608340_9
USCA Case #23-1179              Document #2030314                   Filed: 12/06/2023          Page 3 of 44
                                   TABLE OF CONTENTS


CERTIFICATE AS TO PARTIES, RULINGS,
AND RELATED CASES ............................................................................ i
 A. Parties, Intervenors, and Amici. ....................................................... i
   B. Rulings Under Review. ..................................................................... i
   C. Related Cases. ................................................................................... i
STATUTES AND REGULATIONS .......................................................... 1
STATEMENT OF THE CASE .................................................................. 3
   A. Procedural Background.................................................................... 3
   B. Statutory Background: Without a Valid Assessment, the
      Commissioner’s Administrative Collection Powers Are Absent ..... 4
   C. Statutory Background: Some Penalties Under the Code Are
      Assessable, Some Penalties Are Not Assessable. ............................ 7
   D. Petitioner’s Challenge to the Commissioner ................................. 10
   E. The Tax Court’s Opinion ................................................................ 11
SUMMARY OF ARGUMENT ................................................................. 14
ARGUMENT ........................................................................................... 15
   A. Section 6201 does not authorize assessment of the Section .6038(b)
   penalty. ................................................................................................ 15
   B. Section 6201’s role in the Code does not indicate that it covers the
   Section 6038(b) penalty ....................................................................... 19
   C. The history of Section 6201 does not establish that the
      parenthetical “all taxes (including interest, additional amounts,
      additions to the tax, and assessable penalties)” should be given a
      broad reading here. ........................................................................ 21
   D. The Tax Court was correct in determining that Code Section
      201(a)does not apply to Code Section 6038(b) penalties. .............. 25




                                                      ii

7608340_9
USCA Case #23-1179              Document #2030314                  Filed: 12/06/2023          Page 4 of 44
                                TABLE OF AUTHORITIES
                                                                                                 Page(s)
Cases
Farhy v. Commissioner, 160 T.C. No. 6. (2023) ........................................ 4
Federal Crop Insurance Corp. v. Merrill, SCt,
   332 US at 387, 68 SCt at 4–5 ............................................................. 27
Goldston v. United States (In re Goldston),
   104 F.3d 1198 (10th Cir. 1997) ............................................................. 4
Nat’l Fed. of Ind. Bus. v. Sebelius, 567 U.S. 519 (2012) ......................... 21
Philadelphia & Reading Corp., 944 F2d 1063 (3d Cir. 1991) .................. 6
Ruesch v. Commissioner, 154 T.C. 289 (2020) .................................. 13, 14
Smith v. Commissioner, 133 T.C. 424 (2009) ........................................... 8
Smith, 133 T.C. at 428 ............................................................................ 13
St. Regis Paper Co., SCt, 368 US 208, 82 SCt 289,
  7 LEd2d 240 (1961) .............................................................................. 27
United States v. Galletti, 541 U.S. 114 (2004) ......................................... 5
West Virginia v. EPA, 142 S. Ct. 2587 (2022) ......................................... 10
Zuza v. Off. of High Rep., 857 F.3d 935 (D.C. Cir. 2017) ...................... 15

Circuit Rules
Circuit Rule 28(a)(5) .................................................................................. 2


Statutes
Internal Revenue Code
IRC § 30 ............................................................................................... 9, 22
IRC § 45 ............................................................................................... 9, 22
IRC § 48 ............................................................................................... 9, 22
IRC § 179 ............................................................................................. 9, 22
IRC § 856(g)(5)(C) ...................................................................................... 7
IRC § 857(f)(2)(A) ...................................................................................... 7
IRC § 1275(c)(4) ......................................................................................... 8
IRC § 4083(d)(3) .................................................................................. 9, 22
IRC § 5000A(g)(1) ...................................................................................... 7
IRC § 5114(c)(3) ......................................................................................... 7
                                                      iii

7608340_9
USCA Case #23-1179              Document #2030314                  Filed: 12/06/2023          Page 5 of 44
IRC § 527(j)(1) ........................................................................................... 7
IRC § 5675 ............................................................................................... 22
IRC § 5684(b) ............................................................................................. 7
IRC § 5761 ............................................................................................... 22
IRC § 5761(e) ............................................................................................. 7
IRC § 6033(o) ............................................................................................. 8
IRC § 6038(a) ............................................................................................. 3
IRC § 6038(b) ................................................................................... passim
IRC § 6038(c) ....................................................................................... 9, 22
IRC § 6038A ............................................................................................. 12
IRC § 6038A(d) .................................................................................... 9, 22
IRC § 6038B(c) ............................................................................... 9, 22, 24
IRC § 6038C(c) ..................................................................................... 9, 22
IRC § 6038D(d) .................................................................................... 9, 22
IRC § 6038E ......................................................................................... 9, 22
IRC § 6039E(c) ......................................................................................... 22
IRC § 6039G(c)......................................................................................... 22
IRC § 6043(d) ............................................................................................. 8
IRC § 6046(f) .............................................................................................. 8
IRC § 6046A(e)........................................................................................... 8
IRC § 6201 ....................................................................................... passim
IRC § 6203 .............................................................................................. 5,6
IRC § 6322 ................................................................................................. 5
IRC § 6332(d)(2) .................................................................................. 9, 22
IRC § 6330 ................................................................................................. 3
IRC § 6420(i)(2) ......................................................................................... 8
IRC § 6421(j)(1) ......................................................................................... 8
IRC § 6427(p)(1) ........................................................................................ 8
IRC § 6601 ................................................................................................. 5
IRC § 6652(c) ............................................................................................. 8
IRC § 6665(a)(1)......................................................................................... 7
IRC § 6665(a)(1)......................................................................................... 7
IRC § 6671(a) ............................................................................................. 7
IRC § 6674 ................................................................................................. 8
IRC § 6675 ................................................................................................. 8
IRC § 6677 ................................................................................................. 8
IRC § 6679 ................................................................................................. 8
                                                      iv

7608340_9
USCA Case #23-1179              Document #2030314                  Filed: 12/06/2023          Page 6 of 44
IRC § 6685 ................................................................................................. 8
IRC § 6686 ................................................................................................. 8
IRC § 6688 ................................................................................................. 8
IRC § 6689 ................................................................................................. 8
IRC § 6690 ................................................................................................. 8
IRC § 6692 ................................................................................................. 8
IRC § 6693 ................................................................................................. 8
IRC § 6695 ................................................................................................. 8
IRC § 6698 ................................................................................................. 8
IRC § 6699 ................................................................................................. 8
IRC § 6704 ................................................................................................. 8
IRC § 6705 ................................................................................................. 8
IRC § 6706 ................................................................................................. 8
IRC § 6707 ................................................................................................. 8
IRC § 6708 ................................................................................................. 8
IRC § 6709(c) ............................................................................................. 8
IRC § 6710 ................................................................................................. 8
IRC § 6712 ................................................................................................. 8
IRC § 6714 ................................................................................................. 8
IRC § 6717 ................................................................................................. 8
IRC § 6718 ................................................................................................. 8
IRC § 6719 ................................................................................................. 8
IRC § 6720 ................................................................................................. 8
IRC § 7268 ........................................................................................... 9, 22
IRC § 7269 ............................................................................................... 22
IRC § 7270 ............................................................................................... 22
IRC § 7271 ........................................................................................... 9, 22
IRC § 7272 ........................................................................................... 9, 22
IRC § 7273 ........................................................................................... 9, 22
IRC § 7342 ........................................................................................... 9, 22
IRC § 7501(b) ............................................................................................. 8
IRC § 7601 ............................................................................................... 21
IRC § 7602 ............................................................................................... 21
IRC § 9707(f).............................................................................................. 7
IRC §§ 6211-6216 ...................................................................................... 5
IRC §§ 6321–6327...................................................................................... 5
IRC §§ 6331–6344...................................................................................... 5
                                                      v

7608340_9
USCA Case #23-1179             Document #2030314                 Filed: 12/06/2023         Page 7 of 44
IRC §§ 6651–6751...................................................................................... 7
IRC §§ 6671–6725.................................................................................. 7, 8
IRC §4980H(d)(1)....................................................................................... 7
IRC Code § 6201(a) .......................................................................... passim

Internal Revenue Code of 1939, Pub. L. No. 76-1, 53 Stat. 1 (1939) ..... 23
Internal Revenue Code of 1954 ................................................... 23, 24, 25

Pub. L. 86–780, § 6(a), Sept. 14, 1960 ..................................................... 25

26 U.S.C.A. § 6201 ..................................................................................... 8
28 U.S.C. 2461(a) ................................................................................. 6, 10


Regulations
Treas. Reg. § 301.6203-1 ........................................................................... 5




                                                    vi

7608340_9
USCA Case #23-1179     Document #2030314        Filed: 12/06/2023   Page 8 of 44
                 GLOSSARY OF ABBREVIATIONS


 Term                Definition
 Commissioner        Appellant Commissioner of Internal Revenue
 Petitioner          Appellee Alon Farhy
 I.R.C.              Internal Revenue Code
 IRS                 Internal Revenue Service
 JA                  Joint Appendix




                                      vii

7608340_9
USCA Case #23-1179     Document #2030314     Filed: 12/06/2023   Page 9 of 44
              [ORAL ARGUMENT NOT YET SCHEDULED]
            IN THE UNITED STATES COURT OF APPEALS
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                               No. 23-1179

                             ALON FARHY,


                                             Petitioner-Appellee

                                    v.

             COMMISSIONER OF INTERNAL REVENUE,


                                            Respondent-Appellant
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          ON APPEAL FROM THE DECISION OF THE
        UNITED STATES TAX COURT, CASE NO. 10647-21L
                _________________________________

                      BRIEF FOR THE APPELLEE
                     _________________________________



                  STATUTES AND REGULATIONS

The two key statutes at issue are: Section 6201(a) and Section 6038(b).


Code Section 6201(a) (excerpt):


      The Secretary is authorized and required to make the
      inquiries, determinations, and assessments of all taxes
                                     1
                                                                   7608340.v7

7608340_9
USCA Case #23-1179     Document #2030314      Filed: 12/06/2023   Page 10 of 44
      (including interest, additional amounts, additions to the tax,
      and assessable penalties) imposed by this title, or accruing
      under any former internal revenue law. . . .

Code Section 6038 (excerpt):

      (a) Requirement

      (1) In general

      Every United States person shall furnish, with respect to any
      foreign business entity which such person controls, such
      information as the Secretary may prescribe . . ..

      (b) Dollar penalty for failure to furnish information

      (1) In general

      If any person fails to furnish, within the time prescribed . .
      such person shall pay a penalty of $10,000 for each annual
      accounting period with respect to which such failure exists.

      (2) Increase in penalty where failure continues after
      notification

      If any failure described in paragraph (1) continues for more
      than 90 days after the day on which the Secretary mails notice
      of such failure to the United States person, such person shall
      pay a penalty (in addition to the amount required under
      paragraph (1)) of $10,000 for each 30-day period (or fraction
      thereof) during which such failure continues . . .. The increase
      in any penalty under this paragraph shall not exceed $50,000.

      Other statutes relevant to this appeal are included in an addendum

 attached to the Commissioner’s brief. Relevant parts of others are




                                     2
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023     Page 11 of 44
 summarized in an addendum attached to this brief.               Circuit Rule

 28(a)(5).


                     STATEMENT OF THE CASE

             A.   Procedural Background



      The sole issue in this case is whether the Commissioner has the

authority to assess a penalty under Code Section 6038(b). Petitioner

argued and the Tax Court determined that the Code Section 6038(b)

statute is clear on its face. The answer is no, the Commissioner does not

have the authority to assess a Code Section 6038(b) penalty.

      For the years at issue (2003 through 2010), Petitioner had a

reporting requirement under Code Section 6038(a) to report his

ownership interest in two foreign corporations. For each year, Petitioner

had to file Form 5471, Information Return of U.S. Persons With Respect

to Certain Foreign Corporations, but he wilfully failed to file the Forms

5471 for each foreign corporation. The Commissioner assessed penalties

imposed by Code Section 6038(b)(1) and (2) against Petitioner and sought

to collect the penalties administratively with a proposed levy on

Petitioner’s property. Petitioner timely challenged the mode of collection

                                    3
                                                                      7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314        Filed: 12/06/2023   Page 12 of 44
of the penalties under Code Section 6330 in an administrative Collection

Due Process proceeding and then again in Tax Court, arguing that the

Commissioner lacked authority to assess the penalties; therefore, the

Commissioner had no authority to collect the penalties administratively

by levy. After the administrative hearing the Commissioner issued a

notice of determination sustaining the assessment and the proposed levy.

Petitioner then timely petitioned the Tax Court for review. The Tax Court

in an opinion published at Farhy v. Commissioner, 160 T.C. No. 6. (2023)

ruled in Petitioner’s favor, holding that the Commissioner lacked the

statutory authority to assess penalties under Code Section 6038(b)(1) or

(2) and that the Commissioner could not proceed with administration

collection via the proposed levy. This appeal followed.


          B.  Statutory   Background:    Without    a    Valid
      Assessment, the Commissioner’s Administrative Collection
      Powers Are Absent


      An assessment is a critical event for a tax liability—critical for the

taxpayer, the Commissioner, and the administration of the tax system.

An assessment represents the Commissioner’s determination that the

taxpayer owes a specified tax liability. The Code authorizes the

Commissioner to make “assessments” of tax liabilities. Code Section
                                     4
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 13 of 44
6201(a); see also Goldston v. United States (In re Goldston), 104 F.3d

1198, 1200–01 (10th Cir. 1997). An assessment is made “by recording the

liability of the taxpayer in the office of the Secretary in accordance with

rules or regulations prescribed by the Secretary.” Code Section 6203; see

also Treas. Reg. § 301.6203-1 (describing the method of assessment). The

assessment is necessary and sufficient to trigger the IRS’s unique

collection powers under the Code. United States v. Galletti, 541 U.S. 114,

122 (2004).      Those methods include collection via liens and

administrative levies. See, e.g., Code Sections 6321–6327, 6331–6344.

      Normally, if someone owes money to a government agency, that

agency essentially has the collection rights and remedies of an ordinary

creditor. The Commissioner has these ordinary collection rights, but the

Code also gives the Commissioner supercharged collection powers. After

an assessment, the Commissioner has substantial collection powers

found nowhere else in U.S. laws. Once made, an assessment, including

accrued interest and penalties, must be paid by the date specified in any

IRS notice of assessment and demand for payment. See Code Section

6601. The notice of assessment and demand for payment creates a lien

attaching to all property and rights to property of the taxpayer, including

                                     5
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 14 of 44
after-acquired property and property in the hands of third parties. Code

Section 6322.

     Except for those taxes subject to the deficiency notice procedures

(Code Sections 6211-6216), forced collection efforts to collect the

assessment may be launched immediately. Code Sections 6201(a), 6203.

Petitioner’s assessments are not subject to the deficiency notice

procedures.

     In other words, “it is the assessment, and only the assessment, which

sets in motion the collection powers of the Commissioner, powers that

include the seizure of assets, the freezing of bank accounts and the

creation of liens, all without judicial process.” Philadelphia & Reading

Corp., 944 F2d 1063, 1064 n. 1 (3d Cir. 1991). Code Sections 6038(b) and

6201(a) do not provide the Commissioner with assessment authority in

this case; therefore the Commissioner is unable to use his supercharged

collection powers, leaving the Commissioner’s powers to suing to reduce

the penalty to judgment and collecting it through the judicial process. 28

U.S.C. Section 2461(a).




                                    6
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314        Filed: 12/06/2023   Page 15 of 44
          C.   Statutory Background: Some Penalties Under the
      Code Are Assessable, Some Penalties Are Not Assessable.



      The Code provides different assessment procedures for the

assessment of penalties.

      Some penalties are designated as taxes for assessment purposes. The

Commissioner has the authority to assess any taxes. Code Section

6201(a). One method used in the Code to authorize a penalty’s

assessment provides it be treated as a tax. Code Section 6671(a) provides

that the numerous penalties found in subchapter B of chapter 68 of

subtitle F (i.e., in Sections 6671–6725) “shall be assessed and collected in

the same manner as taxes,” subjecting those penalties to the Secretary's

assessment authority under section 6201. Code Section 6665(a)(1)

contains a similar statement that the additions to tax, additional

amounts, and penalties provided in chapter 68 of subtitle F (i.e., in

Sections 6651–6751) “shall be assessed, collected, and paid in the same

manner as taxes.”


      Some penalties have a stand alone assessment authority. Another

method used in the Code is to specifically authorize assessment of a

penalty in the enabling Code Sections. Code Sections outside of chapter
                                     7
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 16 of 44
68 of subtitle F whose violations the Code specifically penalizes

commonly (1) contain their own express provision specifying the

treatment of penalties or other amounts as a tax or an assessable penalty

for assessment and collection, see, e.g., Sections 527(j)(1), 856(g)(5)(C),

857(f)(2)(A), 4980H(d)(1), 5000A(g)(1), 5114(c)(3), 5684(b), 5761(e),

9707(f); (2) contain a cross-reference to a provision within chapter 68 of

subtitle F providing a penalty for their violation, see, e.g., Sections

1275(c)(4), 6033(o), 6043(d), 6046(f), 6046A(e), 6420(i)(2), 6421(j)(1),

6427(p)(1), 7501(b); or (3) are covered by a penalty provision within

chapter 68 of subtitle F, see, e.g., Sections 6652(c), 6674, 6675, 6677,

6679, 6685, 6686, 6688, 6689, 6690, 6692, 6693, 6695, 6698, 6699, 6704,

6705, 6706, 6707, 6707A, 6708, 6709(c), 6710, 6712, 6714, 6717, 6718,

6719, 6720.

      Some penalties have a group assessment authority. Another method

used in the Code is to authorize assessment of a penalty belonging in a

designated group. See e.g. Code Sections 6201(a), 6671-6725.

      Some penalties result from a designated procedure. Another method

is to authorize assessment of a penalty that results from a specified

procedure, such as the deficiency procedures. When the Code provision

                                     8
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 17 of 44
does not specify whether deficiency procedures apply to a particular

penalty, the Tax Court, in making such determination, considers whether

the penalty is included in the statutory definition of “deficiency” or

whether the penalty depends upon a deficiency or, to the contrary, may

be assessed even if there is overpayment of tax. 26 U.S.C.A. § 6201.

Smith v. Commissioner, 133 T.C. 424, 428-429 (2009).

      Some penalties have no assessment authority. Another method in

the Code provides no assessment authority for a penalty, limiting the

Commissioner’s collection powers to suing to reduce the penalty to

judgment and collect it through the judicial process. 28 U.S.C. Section

2461(a). The Code has explicitly authorized assessment regarding

myriad penalty provisions in the Code, but Code Section 6038(b) and

other penalty provisions lack any statutory authority for the

Commissioner to assess these penalties. Of course, this does not mean

that the Commissioner lacks all powers of collection. 28 U.S.C. Section

2461(a) expressly provides that “[w]henever a civil fine, penalty or

pecuniary forfeiture is prescribed for the violation of an Act of Congress

without specifying the mode of recovery or enforcement thereof, it may




                                    9
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314        Filed: 12/06/2023   Page 18 of 44
be recovered in a civil action.”1 Both the Petitioner and the Tax Court

see this as an adequate collection method for the Commissioner.


            D.   Petitioner’s Challenge to the Commissioner


     Federal government “agencies have only those powers given to them

by Congress.” West Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022).

Petitioner contended that the Commissioner lacks authority to assess the

section 6038(b) penalties. Petitioner argued there is no law giving the

Commissioner authority to assess penalties under Code Section 6038(b)

and that while the United States may collect liabilities for these penalties

through a civil action, see 28 U.S.C. § 2461(a), the Commissioner may not

assess or administratively collect these penalties.

     Petitioner contended that Section 6038(b), like many other penalty

sections in the Code, contains no provision authorizing assessment of the




    1 We found lots of penalties having no assessment authority and we

do not warrant that our list is complete. See e.g., at least eight separate
penalties contained in section § 30, § 45, § 48 and § 179; § 4083(d)(3);
multiple penalties in § 6038(b), § 6038(c), § 6038A(d), § 6038B(c), §
6038C(c); § 6038D(d), § 6038E; § 6332(d)(2) ; § 6039E(c); §6039G(c); §
5675; § 7268; § 7269; § 7270; § 7271; § 7272; § 7273 and § 7342 have no
specific assessment authority. See also Addendum Containing Statutory
Materials, below.
                                     10
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 19 of 44
penalty it provides for. Therefore, Petitioner argued, a Section 6038(b)

penalty is not an assessable penalty, although it may be collected through

a civil action. In Petitioner’s case, the Commissioner failed to assess the

penalty with proper authority; therefore, the Commissioner was

prohibited from using the above tools for collecting the penalty because

of the improper assessment. Without an authorized assessment, the

Commissioner must use the standard collection tools available to

ordinary government agencies. The Tax Court agreed.


            E.   The Tax Court’s Opinion


     The Tax Court agreed with Petitioner’s reading of Code Section

6201(a) and 6038(b). The Commissioner does not have the authority to

assess the Code Section 6038(b) penalty.

     Originally, when this lack of assessment authority issue was brought

to the Commissioner’s attention, he responded publicly with this

argument:


      The IRC provides two methods to assess penalties, either (1)
      pursuant to deficiency procedures or (2) as assessable
      penalties, that is, those penalties not subject to deficiency
      procedures. Penalties under Chapter 61, including IRC § 6038
      and § 6038A, are meant to enforce reporting requirements and
      are not based on the tax shown on a return or the existence of
                                    11
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314         Filed: 12/06/2023   Page 20 of 44
      a deficiency. As such, there is no legal basis for us to apply
      deficiency procedures to these penalties and the IRS has
      consistently treated Chapter 61 penalties as assessable. (JA
      179)


      The Commissioner repeated this “cart before the horse” argument

in Tax Court (JA245-246) where it was rejected with a detailed rebuttal

by the Tax Court. 2 (JA246-248.)         In this appeal, the Commissioner

abandoned this baseless argument (Brief for Appellant, p.9 n. 1 and 26

n.3), so the “cart before the horse” argument is immaterial.

      In Tax Court the Commissioner also argued that the term “taxes”

in Code Section 6201 is broad enough to encompass section 6038

penalties. In a lengthy rebuttal the Tax Court found the Commissioner’s

arguments “unavailing”. (JA248-250.)



  2 “However, if we were to consider whether section 6038(b) penalties

are subject to deficiency procedures without first deciding whether
the section 6038 penalties must be paid upon notice and demand and
assessed and collected in the same manner as taxes, we would be putting
the proverbial cart before the horse. That is because there is no provision
in the first place providing that these penalties “must be paid upon notice
and demand and assessed and collected in the same manner as
taxes.” Smith, 133 T.C. at 428. Simply put, while section
6038(b) provides for penalties, it does not provide for assessable
penalties. Respondent's argument that section 6038(b) penalties are
necessarily assessable penalties because they are not subject to
deficiency procedures assumes a faulty premise and must be rejected.”
(JA246-248.)
                                    12
                                                                      7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023   Page 21 of 44
      The Commissioner then cited Ruesch v. Commissioner, 154 T.C. 289

(2020), aff'd in part, vacated and remanded in part, 25 F.4th 67 (2d Cir.

2022), for support for his statutory construction arguments arguing that

the Tax Court never mentioned the absence of the Commissioner’s

assessment authority in describing the taxpayer’s remedies to challenge

an assessment of a Code Section 6038 penalty. Tax Court made short

work of that argument “We also reject respondent's reliance on our

holding in Ruesch because Ruesch has no bearing on the issue before us.”

(JA 251-252.)


      Finally, in Tax Court the Commissioner argued that the legislative

history surrounding the enactment of penalties in Code Section 6038(b)

provides support for his position. The Tax Court correctly found that the

legislative history cited said nothing about how Code Section 6038(b)

penalties were to be assessed or collected, and the Tax Court correctly

rejected this argument.


     The Tax Court concluded that Petitioner's reading of the Code was

the correct one. The Tax Court concluded that the Commissioner’s

arguments lacked merit. Code Sections 6201(a) and 6038(b) do not

provide the Commissioner with assessment authority and neither do any
                                   13
                                                                   7608340.v7

7608340_9
USCA Case #23-1179     Document #2030314     Filed: 12/06/2023   Page 22 of 44
other Code Sections. Therefore, the Commissioner is unable to use his

supercharged collection powers here.


                       SUMMARY OF ARGUMENT


      Petitioner’s argument here is easy to understand. There is no

authority for the Commissioner to assess the Code Section 6038 penalty

against Petitioner, or anyone else. Our argument discloses a decades-long

program by the IRS assessing billions of dollars of foreign information

penalties with no authority, coupled with an obdurate refusal by the

Commissioner to fix this problem when it was brought to his attention

years ago. The Commissioner’s rebuttal arguments, in sum, are also easy

to understand: This lack of authority just cannot be real, because I say it

is not real. Ipse dixit.




                                     14
                                                                    7608340.v7

7608340_9
USCA Case #23-1179     Document #2030314       Filed: 12/06/2023   Page 23 of 44
                               ARGUMENT


        The Tax Court correctly held that the Code does not
        authorize assessment of the Section 6038(b) penalty.

                           Standard of Review


        The Tax Court’s determination that the Commissioner lacks

assessment authority is a question of law reviewed de novo. See Zuza v.

Off. of High Rep., 857 F.3d 935, 938 (D.C. Cir. 2017).


             A.   Section 6201 does not authorize assessment of the
        Section 6038(b) penalty.


        Here, for the first time, the Commissioner admits there is no

express authorization in Code Section 6038(b) to assess the penalty.

(Brief for Appellant, p. 30).3 The Commissioner now attempts to recover

by inferring authorization from Code Section 6201(a), which states:


        The Secretary is authorized and required to make the
        inquiries, determinations, and assessments of all taxes
        (including interest, additional amounts, additions to the tax,
        and assessable penalties) imposed by this title, or accruing
        under any former internal revenue law. . .. (emphasis added).



    Or, as noted by the Tax Court: There is no statutory provision, in
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the Code or otherwise, specifically authorizing assessment of these
penalties. (JA 244.)
                                      15
                                                                      7608340.v7

7608340_9
USCA Case #23-1179     Document #2030314        Filed: 12/06/2023   Page 24 of 44
      The question is whether the plain language of Code Sections

6201(a) and 6038(b) support a determination that the Code Section

6038(b) penalty is assessable. The Code Sections do not support such a

result.


      The Code identifies two types of penalties, assessable penalties, and

penalties that are not assessable penalties, like the Section 6038

penalties. In note 1, above, Petitioner has identified about three dozen

penalties   that     are   not   assessable   penalties.   Nevertheless,    the

Commissioner attempts to find expressed authorization for a rewrite of

Code Section 6201(a) with a complex exercise based on imagined

Congressional intent that rewrites the Code’s general assessment

authority in Code Section 6201(a). According to the Commissioner: “This

broad, inclusive language should be read to include all exactions imposed

by the Code unless Congress has specifically provided otherwise.” (Brief

for Appellant, p. 23, 39). No, it shouldn’t.


      The Commissioner first attempts to redraft Code Section 6201(a) by

adding to the parenthetical (including interest, etc.) the words “all

exactions imposed by this title,” thus making Code Section 6038(b)

penalty assessable, as the Commissioner imagines Congress supposedly
                                       16
                                                                       7608340.v7

7608340_9
USCA Case #23-1179    Document #2030314      Filed: 12/06/2023   Page 25 of 44
intended. Or, if the Commissioner could delete the parenthetical of Code

Section 6201(a) and replace it with “(all exactions imposed by this title)

then the Code Section 6038(b) penalty becomes “assessable” along with

every other exaction in the Code, just as the Commissioner imagines

Congress supposedly intended.


      Petitioner has found no support for the Commissioner’s

interpretations.     Lacking the Commissioner’s mind reading

skills, we are forced to read the words of Code Section 6201(a) to

determine its meaning. We find that Code Section 6201(a) means

what it says, and it does not include assessment authority for the

Section 6038(b) penalty. Incidentally, neither does any other

Code Section provide the authority sought by the Commissioner.

      The Commissioner then narrows his argument and

attempts to modify the word “taxes” in Code Section 6201(a) to

include the Section 6038(b) penalty, as the Commissioner

imagines Congress supposedly intended. According to the

Commissioner, the history of Section 6201 further establishes

that it should cover all penalties in the Code, regardless of their

label. (Brief for Appellant, p 31.) We acknowledge that for many
                                    17
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 26 of 44
penalties in the Code, Congress uses the device “shall be assessed

and collected in the same manner as taxes,” subjecting those

penalties to the Commissioner’s assessment authority under

Section 6201(a). But Congress did not use this technique here

and the Commissioner’s argument is not supported in the law.

      The Commissioner then pivots and argues that the

assessment of the Code Section 6038(b) penalty, and other

penalties, are covered by the terms in the Section 6201(a)

parenthetical. If only the Commissioner can delete the word

assessable in the parenthetical and replace it with nothing, then

the Code Section 6038(b) penalty becomes “assessable” along

with every other penalty in the Code, as the Commissioner

imagines Congress supposedly intended. Unfortunately, for this

theory, the word “assessable” does appear in the parenthetical

and it is reasonable to conclude that Congress included the word

“assessable” on purpose to distinguish assessable penalties from

penalties that cannot be assessed.

      Not giving up, the Commissioner then suggests a theory

that requires us to not modify the terms in the parenthetical in

                                     18
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023    Page 27 of 44
Section 6201(a), but add to the terms in the parenthetical based

on some imagined Congressional intent. The Commissioner

would have us redraw the parenthetical by adding “Section

6038(b) penalties” to the parenthetical so it would now read

“(including interest, additional amounts, additions to the tax, and

assessable penalties, and Section 6038(b) penalties)”. The

Commissioner seems unable to understand how Congress could

have missed this important addition and he presents a solution

to support his erroneous assessment theory. The Commissioner’s

theory is wrong, Section 6201(a) does not give the Commissioner

the authority he evidently thinks he is entitled to have.


           B.    Section 6201’s role in the Code does not indicate
      that it covers the Section 6038(b) penalty


      The Commissioner next moves to his “absurd result” theory:


            If the Section 6038(b) penalty does not fall within
            Section 6201’s assessment authority, it would be
            the first of its kind: a penalty sitting within the
            Code without interacting with the extensive
            enforcement provisions of the Code, but also
            without express statutory instruction for other
            enforcement. There is no evidence whatsoever that
            Congress intended this absurd result. Thus,
            Section 6201(a) should be read as including

                                    19
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 28 of 44
            Section 6038(b) within its assessment authority.
            (Brief for Appellant, p.30.)

      Please allow us to point out there is no evidence that Congress

did not intend this result in this case, and the result is far from

absurd. Lots of penalties in the Code have no assessment authority

attached to them. See note 1, above. It takes little imagination to

come up with reasons why Congress created some penalties

assessable penalties, and others not.

      The Commissioner looked for more absurd arguments. The

next absurd argument being that, under the Petitioner’s theory, the

Commissioner is not required or even authorized to make

“inquiries” or “determinations” about the Section 6038(b) penalty

as authorized by Code Section 6201(a). There is no absurd result

here resulting from the Petitioner’s theory. The Commissioner has

vast powers to collect data supporting tax administration, with or

without Code Section 6201. The Commissioner does not need Code

6201(a) to examine all the issues relating to Section 6038(b)

penalties. See e.g., Code Sections 7601 and 7602.                 The

Commissioner should know this.



                                    20
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023   Page 29 of 44
      The Commissioner then cites Nat’l Fed. of Ind. Bus. v.

Sebelius, 567 U.S. 519, 546 (2012) for support that the Section 6038

penalty is covered by Section 6201. In fact, that case supports our

position. Please looks at what the Supreme Court states at 567 U.S.

519 at 543-546 in holding that the Anti-Injunction Act, 26 U.S. Code

Section 7421, prohibition of suits to restrain assessment or

collection, does not apply to the individual mandate penalty

because it is a penalty not a tax, even though it is “assessed and

collected in the same manner” as taxes just like assessable

penalties in Chapter 68B. The point here is that Congress knows

how to create a tax and how to create a penalty and how to create

rules for each. Here, Congress created no rules for the assessment

of our Code Section 6038 penalty.


           C.  The history of Section 6201 does not establish that
      the parenthetical “all taxes (including interest, additional
      amounts, additions to the tax, and assessable penalties)”
      should be given a broad reading here.


      The Commissioner next attempts to identify specific

exceptions to the broad grant of assessment authority in Code

Section 6201(a) placed in the Code by Congress, and then imagines


                                    21
                                                                   7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314        Filed: 12/06/2023   Page 30 of 44
that Congress would think that other exceptions to the

Commissioner’s assessment authority, such as the one Petitioner

argues for here, should not be inferred.

      A look through the Code reveals differences in the assessment

scheme among penalties and plenty of exceptions to the Commissioner’s

assessment authority as we outline above. We repeat the exceptions

here.4

      From these different statutory schemes, we can conclude that

Congress knows how to draft a tax statute with assessment authority,

and Congress also knows how to draft a tax statute without assessment

authority. In our case, Congress drafted the Section 6038(b) penalty

without assessment authority, thus depriving the Commissioner of his




      4 We found lots of penalties having no assessment authority and we

do not warrant that our list is complete. See e.g., at least eight separate
penalties contained in section §§ 30, 45, 48 and 179; § 4083(d)(3); multiple
penalties in §§ 6038(b), 6038(c), 6038A(d), 6038B(c), 6038C(c); 6038D(d),
6038E; § 6332(d)(2); § 5675; § 5761; § 6039E(c); § 6039G(c); § 5675; § 7268;
§ 7269; § 7270; § 7268; § 7269; § 7270 and § 7271 § 7272; § 7273 and §
7342 have no specific assessment authority.

                                     22
                                                                     7608340.v7

7608340_9
USCA Case #23-1179    Document #2030314        Filed: 12/06/2023   Page 31 of 44
supercharged collection powers and requiring the Commissioner to rely

on conventional collection tools to collect the Section 6038(b) penalty.

      Continuing his quest for favorable Congressional intent, the

Commissioner points out that that in the Internal Revenue Code of 1939,

Pub. L. No. 76-1, 53 Stat. 1 (1939), the predecessor to Section 6201(a),

stated:

       The Commissioner is authorized and required to make the
      inquiries, determinations, and assessments of all taxes and
      penalties imposed by this title.


But in the Internal Revenue Code of 1954 the general grant of

assessment authority was recodified as our version of Section

6201(a):

      The Secretary or his delegate is authorized and required to
      make the inquiries, determinations, and assessments of all
      taxes (including interest, additional amounts, additions to
      the tax, and assessable penalties) imposed by this title, . . .


The Commissioner concluded:

      Nothing in the 1954 text indicates an intent to limit
      Treasury’s previously expansive assessment authority or to
      limit the scope of penalties that had previously fallen within
      its ambit.” (Brief for Appellant, p. 32.)


                                     23
                                                                      7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023   Page 32 of 44
        The Commissioner says that Congress noted two specific

material changes in the 1954 provision but did not state that the

new statutory language of “all taxes (including interest, additional

amounts, additions to the tax, and assessable penalties)” effected a

material change to “all taxes and penalties.” (Brief for Appellant,

32-33.) Please allow an observation here: Congress did not state a

lot of things about these changes.       What they did state was

irrelevant to our problem.      In any event, according to the

Commissioner, the 1954 change actually broadened the scope of

the penalties covered. We suggest that the change of terminology

from “assessments of all taxes and penalties imposed by this title

(1939)” to “assessments of all taxes (including interest, additional

amounts, additions to the tax, and assessable penalties) imposed by

this title. . .(1954)” obviously narrowed the scope of penalties

assessable under the 1954 Code. In any event, the 1939 Code could

not have captured the assessment of our Section 6038(b) penalties

before 1954 since that Section 6038(b) did not exist in 1954.5 The

1939 Code did not capture our Section 6038(b) penalty then, and


    5 Code Section 6038 was added by Pub. L. 86–780, § 6(a), Sept. 14,

1960.
                                    24
                                                                   7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 33 of 44
the 1954 Code does not capture assessment of our Section 6038(b)

penalties today. Those penalties today are not assessable, and the

Commissioner cannot use his administrative collection powers to

collect them.


      D. The Tax Court was correct in determining that Code
          Section 6201(a) does not apply to Code Section 6038(b)
          penalties.


      The Commissioner says, “It is reasonable to infer that, along with

administering the penalty, the IRS is expected to assess and collect it, in

the absence of any statutory instruction to the contrary.” (Brief, p. 27.)

However, we submit that it is reasonable to infer that the Commissioner

should know whether he has the authority to assess and collect billions

of dollars in assessments against tens of thousands of taxpayers. (JA175).

It is reasonable to infer that the Commissioner, once he is put on notice,

should take steps to understand the issue and obtain the appropriate

authority before proceeding. It is unreasonable for the Commissioner to

suggest here that because he has not been challenged with illegally

assessing these penalties for over 40 years, some sort of laches applies

creating authority for him out of nothing. It is unreasonable for the



                                    25
                                                                    7608340.v7

7608340_9
USCA Case #23-1179    Document #2030314       Filed: 12/06/2023   Page 34 of 44
Commissioner to contend that because our issue was not litigated earlier,

he can continue to exceed his authority.

        The Commissioner expects the taxpayers to turn square corners,

not cut corners. The same test should be applied to the Commissioner.6

        Just because the Commissioner has the right administer the

Section 6038 penalty, does not necessarily mean he automatically has the

power to statutorily assess the penalty and seize the taxpayer’s assets

absent an immediate payment. The Commissioner can still administer

the Section 6038 penalty by contacting the person owing the penalty and

demanding payment. The Commissioner can still administer the Section

6038 penalty by informing the person of negative consequences for

nonpayment including accruing interest, additional continuation

penalties, and a lawsuit in federal court to reduce their debt to judgment


    6 See generally, St. Regis Paper Co. v. United States, 368 U.S. 208,
229 (1961) (Black, J., dissenting) (“Our Government should not by
picayunish haggling over the scope of its promise, permit one of its arms
to do that which, by any fair construction, the Government has given its
word that no arm will do. It is no less good morals and good law that the
Government should turn square corners in dealing with the people than
that the people should turn square corners in dealing with their
government”); Federal Crop Insurance Corp. v. Merrill, 332 U.S. 380 at
387–388 (1947) (Jackson, J., dissenting) (“It is very well to say that those
who deal with the Government should turn square corners. But there is
no reason why the square corners should constitute a one-way street”).
                                     26
                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 35 of 44
and forcibly collect on the judgment if they do not comply. What he may

not do is launch his administrative collection apparatus on the person

liable for the Section 6038(b) penalty.

                             CONCLUSION

      The decision of the Tax Court should be affirmed.

                                  Respectfully submitted,

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                                    27
                                                                    7608340.v7

7608340_9
USCA Case #23-1179    Document #2030314       Filed: 12/06/2023   Page 36 of 44
      ADDENDUM CONTAINING STATUTORY MATERIALS


I.R.C. § 6031(e) requires a Form 1065 Return of Partnership Income for
foreign partnerships. The penalty for failure to file is in I.R.C. § 6698, in
Chapter 68, which contains specific assessment authority.


I.R.C. § 6031(b) requires a partnership to furnish information to the
partners. The penalty for failure to furnish is in Temporary Reg.
§1.6031(b)-1T. Temporary Reg. §1.6031(b)-1T Statements to Partners
(temporary) states under section (d) that penalties for failure comply with
Code § 6031(b) are governed by Code § Sec. 6722(a), in Chapter 68, which
contains specific assessment authority.


I.R.C. § 6032 - Returns of banks regarding common trust funds requires
banks with common trust funds to make a tax return. The section does
not appear to have a separate penalty.


I.R.C. § 6033 - Returns by exempt organizations. I.R.C. § 6033(o)
establishes a penalty for failure to file and provides a reference to §
6652(c), in Chapter 68, which contains specific assessment
authority.


I.R.C. § 6034 Returns by certain trusts. Penalties that apply are under
I.R.C. § 6652(c) and (d) in Chapter 68, which contains specific
assessment authority.


I.R.C. § 6034A Information to beneficiaries of estates and trusts—
addition to tax for failure to comply with this section. Penalties that apply
are under I.R.C. § 6034A(c)(5) in Chapter 68, which contains specific
assessment authority. Please note that Code Sec. 6034A(c)(5) points to
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                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 37 of 44
additions to tax and additional amounts: “For addition to tax in the case
of a beneficiary’s negligence in connection with … the requirements of
this section, see part II of subchapter A of Chapter 68.” However, there
appears no explicit reference to Code Sec.
6034A in that section.


I.R.C. § 6034A Information to beneficiaries of estates
and trusts—effect of failure to notify. Penalties that apply are under
I.R.C.   § 6034A(c)(3) in Chapter 68, which contains specific
assessment authority.


I.R.C. § 6035 Basis information to persons acquiring property from the
decedent supplied on Form 8971. The penalty related to the failure to file
this information appears to have been removed from Code Sec. 6679 back
in 2004. The section does not appear to have a separate penalty.


I.R.C. § 6036 Notice of qualification as executor or receiver. The section
does not appear to have a separate penalty.


I.R.C. § 6037 Return of an S-Corporation on Form 1120-S. Penalty for
failure to file applicable forms under 6699. Also, the effect of failure to
notify inconsistent treatment between entity and beneficiary “shall be …
assessed according” to the statute. All in Chapter 68, which contains
specific assessment authority.


I.R.C. § 6038 Return of a U.S. person with an interest in: Foreign
Corporation (FC) on Form 5471. Penalty is in I.R.C. § 6038(b). No cross
reference to Chapter 68. No specific assessment authority.



                                     2
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023   Page 38 of 44
I.R.C. § 6038 Return of a U.S. person with an interest in: Foreign
Partnership (FP) on Form 8865. Penalty is in I.R.C. § 6038(b). No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038 Return of a U.S. person with an interest in: Foreign
Disregarded Entity on Form 8858. Penalty is in I.R.C. § 6038(b). No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038 penalty reducing foreign tax credit from a Form 5471.
Penalty is in I.R.C. § 6038(c). No cross reference to Chapter 68. No
specific assessment authority.


I.R.C. § 6038 penalty reducing foreign tax credit from a Form 8865.
Penalty is in I.R.C. § 6038(c). No cross reference to Chapter 68. No
specific assessment authority.


I.R.C. § 6038 penalty reducing foreign tax credit from a Form 8858 for
FC or FP with Foreign disregarded entity. Penalty is in I.R.C. § 6038(c).
No cross reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038A Information Return of a 25% Foreign-Owned U.S.
Corporation or a Foreign Corporation Engaged in a U.S. Trade or
Business (Under Sections 6038A and 6038C of the Internal Revenue
Code) on Form 5472. Penalty is in I.R.C. § 6038A(d). No cross reference
to Chapter 68. No specific assessment authority.


I.R.C. § 6038A penalty on 25-percent foreign-owned U.S. corporations
that fail to: (1) authorize the reporting corporation to act as



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                                                                   7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 39 of 44
agent of a foreign related party, or (2) substantially comply with a
summons for information. Penalty is in I.R.C. § 6038A(e). No cross
reference to Chapter 68. No specific assessment authority.
.
I.R.C. § 6038B Return by a U.S. Transferor of Property to a Foreign
Corporation on Form 926. Penalty is in I.R.C. § 6038B(c). No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038B Return by a U.S. Transferor of Property to a Foreign
Corporation on Form 926. Penalty is in I.R.C. § 6038B(c). No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038B Return of U.S. Persons With Respect to Certain Foreign
Partnerships on Form 8865, Schedule G, H and O. Penalty is in I.R.C. §
6038B(c). No cross reference to Chapter 68. No specific assessment
authority.


I.R.C. § 6038C Information Return Foreign Corporation Engaged in a
U.S. Trade or Business on Form 5472. Penalty is in I.R.C. § 6038C(c). No
cross reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038C Information Return Foreign Corporation Engaged in a
U.S. Trade or Business on Form 5472. Penalty is in I.R.C. § 6038C(c). No
cross reference to Chapter 68. No specific assessment authority.


I.R.C. § 6038D Information regarding foreign financial assets—failure to
disclose on Form 8938. Penalty is in I.R.C. § 6038D(d). No cross reference
to Chapter 68. No specific assessment authority.



                                    4
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7608340_9
USCA Case #23-1179    Document #2030314       Filed: 12/06/2023   Page 40 of 44
I.R.C. § 6038E Information regarding the assignment of lower rates or
refunds by foreign producers of beer, wine, and distilled spirits. No
penalty is asserted. No specific assessment authority.


I.R.C. § 6039. Returns required with certain options on Forms 3921 and
3922. Penalty is in 6721. Reg. §§1.6039-1(d), 1.6039-2(d) provides “For
provisions relating to the penalty applicable to the failure to file a return
under this section, see Code Sec. 6721” and “Code Sec. 6722,”
respectively.” All in Chapter 68, which contains specific assessment
authority.


I.R.C. § 6039C Returns regarding foreign persons holding direct
investments in U.S. real property interests. Penalty is in I.R.C. § 6652 in
Chapter 68. However, the IRS website states that “until such time that
regulations under Code Sec. 6039C are issued, these provisions are not
operative.” There do not appear to be regulations issued. One could argue
there is no assessment authority.


I.R.C. § 6039D Returns and records regarding certain fringe benefit
plans. Penalty is at 6652 in Chapter 68, which contains specific
assessment authority.


I.R.C. § 6039E Information about resident status. Penalty is in I.R.C. §
6039E(c). § 6039E(c) provides that “failing to provide” required
statement subject to $500 for each failure but there is no specific
assessment authority. No link to Chapter 68.


I.R.C. § 6039F Information about large gifts received from foreign
persons on Form 3520. Penalty section is I.R.C. § 6039F(c). Code Sec.
6039F(c) provides a penalty for “failure to file information” but there is
no assessment authority. No link to Chapter 68. However, Code Sec.
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                                                                     7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023   Page 41 of 44
6039F(c)(1)(B) provides that the taxpayer to whom such penalty is
imposed “shall pay [the penalty] (upon notice and demand by the
Secretary and in the same manner as tax)”. No specific assessment
authority.


I.R.C. § 6039G Information on individuals losing U.S. citizenship on
Forms 8854 and W-8CE. Penalty section is § 6039G(c). I.R.C. § 6039G(c)
provides a “penalty” if a required individual “fails to file” a required
statement with the Secretary but there is no specific assessment
authority. No link to Chapter 68.


I.R.C. § 6039H Information regarding Alaska Native Settlement Trusts
and Native Corporations on Form 1041-N. Does not assert a penalty. No
cross reference to Chapter 68. No specific assessment authority.


I.R.C. § 6039I Returns and records regarding employer-owned life
insurance contracts on Form 8925. Does not assert a penalty. No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 6039J Information reporting regarding Commodity Credit
Corporation transactions. Does not assert a penalty. No cross reference
to Chapter 68. No specific assessment authority.


I.R.C. § 6046 Returns as to the organization or reorganization of foreign
corporations and as to acquisitions of their stock. Penalty is at 6679 in
Chapter 68, which contains specific assessment authority.


I.R.C. § 6046A Returns regarding payments of remuneration for services
and direct sales. Penalty is at 6679 in Chapter 68, which contains
specific assessment authority.

                                    6
                                                                   7608340.v7

7608340_9
USCA Case #23-1179    Document #2030314       Filed: 12/06/2023   Page 42 of 44



I.R.C. § 6048 Information regarding certain foreign trusts’ reportable
events. Does not assert a penalty. No cross reference to Chapter 68. No
specific assessment authority.


I.R.C. § 45(b)(7)(B) Group. At least eight penalties in § 30, § 45, § 48 and
§ 179 contain penalties for failure to satisfy requirements of credits
against income taxes. No cross reference to Chapter 68. No specific
assessment authority.


I.R.C. § 4083(d)(3) Penalty for refusal to permit entry or examination by
the Treasury Department to inspect taxable fuels. No cross reference to
Chapter 68. No specific assessment authority.


I.R.C. § 5675 Penalty for unlawful production or removal of beer. No
specific assessment authority.


I.R.C. § 6332(d)(2) Penalty for refusing to surrender property subject to
levy. No cross reference to Chapter 68. No specific assessment
authority.


I.R.C. § 7268 Penalty for possessing goods with intent to sell and avoid
taxes imposed on the goods. No cross reference to Chapter 68. No
specific assessment authority.


I.R.C. § 7269 Penalty for failure to produce records. Provides for collection
in a civil action in the name of the United States. No cross reference to
Chapter 68. No specific assessment authority.



                                      7
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7608340_9
USCA Case #23-1179   Document #2030314       Filed: 12/06/2023   Page 43 of 44
I.R.C. § 7270 Penalty for intentionally evading a tax on insurance
policies. No cross reference to Chapter 68. No specific assessment
authority.


I.R.C. § 7271 Penalty for failure to comply with rules relating to stamps.
No cross reference to Chapter 68. No specific assessment authority.


I.R.C. § 7272 Penalty for failure to register a business upon which a
special tax is imposed. No cross reference to Chapter 68. No specific
assessment authority.


I.R.C. § 7273 Penalty for offenses relating to special taxes. No cross
reference to Chapter 68. No specific assessment authority.


I.R.C. § 7342 Penalty for refusal to permit entry or examination by the
Treasury Department to inspect taxable items. No cross reference to
Chapter 68. No specific assessment authority.




                                    8
                                                                    7608340.v7

7608340_9
USCA Case #23-1179   Document #2030314      Filed: 12/06/2023    Page 44 of 44
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Dated December 6, 2023                        /s/ Edward M. Robbins, Jr.
                                              Edward M. Robbins, Jr.




                                    9
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